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                IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                          OXFORD DIVISION
________________________________________________________________
                               |
MARY L. RINEHART               |
                     Plaintiff |
                               |
v.                             |          Civil Action No.
                               |       3:13-cv-237-NBB-JMV
CONAIR CORPORATION             |
                     Defendant |
________________________________________________________________

and
________________________________________________________________

MARY L. ALLISON               |
STACY A. LITWA                |
                   Plaintiffs |
                              |
v.                            |         Civil Action No.
                              |        3:13-cv-238-SA-JMV
CONAIR CORPORATION            |
                    Defendant |
______________________________________________________________

                          THIRD PARTY COMPLAINT

     COMES NOW, Conair Corporation (“Conair”), Defendant in the

above matter, and files this, its Third Party Complaint against

third party defendants, Hillwood Investment Properties Services,

L.P., Hillwood Construction Services, L.P., and the Reaves Firm

Incorporated (hereinafter “Third Party Defendants”), and in

support thereof would show unto the Court the following:

                                   PARTIES

     1.   Conair is a Delaware corporation with its principal

place of business in New Jersey.
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     2.   Both Hillwood Investment Properties, L.P. and Hillwood

Construction Services, L.P. are limited partnerships formed and

existing under the laws of the state of Texas with their

principal place of business in Texas.          Both are owned by Texas

limited liability companies and may be served with summons and

Complaint on their registered agent, Stephen D. Parker, 300

Olive Street, Suite 300, Dallas, Texas 75219.

     3.   Reaves Firm Incorporated is a citizen of the state of

Tennessee and may be served with summons and Complaint on its

agent Harvey C. Marcom, 5800 Ridge Bend Road, Memphis, Tennessee

39120-9416.

                         JURISDICTION AND VENUE

     4.   Jurisdiction and venue of this action are proper in

this Court inasmuch as the Third Party Complaint arises out of

the same transaction or occurrence that is the subject matter of

the original action.      Joining the Third Party Defendants will

not destroy the diversity jurisdiction of this Court.

                                    FACTS

     5.   Conair owns a warehouse adjacent to the northern

border of the Plaintiffs’ property.          At the time of the incident

in question, a sediment basin was constructed on the southern

border of Conair’s property.        Plaintiffs allege that on May 21,

2013, during a rainstorm, the levee for the sediment basin




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overflowed and discharged large quantities of water on the

Plaintiffs’ properties causing flood damage to their homes.

     6.    Plaintiffs assert claims of strict liability and

willful, grossly negligent or wanton trespass for which they

seek actual, compensatory and punitive damages.

     7.    The drainage system and/or sediment basin on Conair’s

property was designed and/or constructed by Hillwood Investment

Properties, L.P., Hillwood Construction Services, L.P., and the

Reaves Firm Incorporated as part of the Desoto Trade Center

Development in Southaven, Mississippi.

                                 INDEMNITY

     8.    Conair incorporates herein the allegations made in

Paragraphs 1 through 7.

     9.    Conair denies that it is liable to the Plaintiffs but

in the event that it is found liable to the Plaintiffs, the

Third Party Defendants are obligated to indemnify Conair from

losses suffered and those it may suffer as a result of the

underlying action.

                             NEGLIGENT DESIGN

     10.   Conair incorporates herein the allegations made in

Paragraphs 1 through 9.

     11.   Conair alleges that the Third Party Defendants

negligently designed the drainage system and/or sediment basin




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and such negligence was the proximate cause of Plaintiffs’

damages, if any, and Conair’s damages.

     12.   Conair would show that it did not learn and reasonably

could not have learned of the Third Party Defendants negligent

design until after the events which occurred on May 21, 2013, as

described above.

                         NEGLIGENT CONSTRUCTION

     13.   Conair incorporates herein the allegations made in

Paragraphs 1 through 12.

     14.   Conair alleges that the Third Party Defendants

negligently constructed the drainage system and/or sediment

basin and such negligence was the proximate cause of Plaintiffs’

damages, if any, and Conair’s damages.

     15.   Conair would show that it did not learn and reasonably

could not have learned of the Third Party Defendants negligent

construction until after the events which occurred on May 21,

2013, as described above.

  BREACH OF IMPLIED WARRANTIES OF WORKMANSHIP AND HABITABILITY

     16.   Conair incorporates herein the allegations made in

Paragraphs 1 through 15.

     17.   Conair alleges that the Third Party Defendants

breached implied warranties and at all times were under the

duties and requirements to exercise reasonable care and to

construct the drainage system and sediment basin and the Third


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Party Defendants failed to design, plan, supervise, observe and

construct the drainage system and sediment basin in a reasonable

manner and these failures directly caused the Plaintiffs’

damages, if any, and Conair’s damages.

     18.   Conair would show that it did not learn and reasonably

could not have learned of the Third Party Defendants breach

until after the events which occurred on May 21, 2013, as

described above.

                     BREACH OF EXPRESS WARRANTIES

     19.   Conair incorporates herein the allegations made in

Paragraphs 1 through 18.

     20.   Conair alleges that the Third Party Defendants

expressly warranted the design and construction and suitability

of the drainage system and sediment basin and that the Third

Party Defendants breached the express warranties directly

causing the Plaintiffs’ losses and damages, if any, and Conair’s

damages.

     21.   Conair would show that it did not learn and reasonably

could not have learned of the Third Party Defendants breach

until after the events which occurred on May 21, 2013, as

described above.

                            BREACH OF CONTRACT

     22.   Conair incorporates herein the allegations made in

Paragraphs 1 through 21.


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     23.   Conair alleges that the Third Party Defendants

breached the contract outlining the construction and

professional duties, services, and responsibility of the Third

Party Defendants, and that the breach of said contract caused

and contributed to the Plaintiffs’ damages, if any, and Conair’s

damages.

     24.   Conair would show that it did not learn and reasonably

could not have learned of the Third Party Defendants breach

until after the events which occurred on May 21, 2013, as

described above.

                                   DAMAGES

     25.   Conair incorporates herein the allegations contained

in Paragraphs 1 through 24.

     26.   The negligent acts and omissions of the Third Party

Defendants directly and proximately caused and continue to cause

Conair damages.

     WHEREFORE, PREMISES CONSIDERED, Third Party Plaintiff,

Conair Corporation, prays that summons issued for the above-

named Third Party Defendants and demands judgment from and

against the Third Party Defendants for any and all loss

sustained by Conair Corporation in the underlying action,

including all costs of court, pre-judgment interest, post-

judgment interest, reasonable attorney’s fees, and such other

relief as the Court deems just and proper.


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     Dated: March 24, 2014.

                                    Respectfully submitted,

                                    CONAIR CORPORATION


                                    By:   s/ Kelly D. Simpkins                  .




                                          Kelly D. Simpkins (MSB #9028)
                                          Its Attorney

OF COUNSEL:

WELLS MARBLE & HURST, PLLC
Post Office Box 131
Jackson, Mississippi 39205-0131
Telephone:     (601) 605-6900
Facsimile:     (601) 605-6901
ksimpkins@wellsmar.com



                         CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing
Third Party Complaint with the Clerk of the Court using the ECF
system which sent notification of such filing to the following:

     Christian Goeldner, Esq.
     The Goeldner Law Firm
     Post Office Box 1468
     Southaven, Mississippi 38671-1468

          ATTORNEY FOR PLAINTIFFS

     This, the 24th day of March, 2014.


                                     s/ Kelly D. Simpkins                           .




                                    Kelly D. Simpkins
                                                                               /238007




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